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5
     Attorney for Defendant
6    SANDRA HERMOSILLO
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )               2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )               STIPULATION AND
14                                       )               ORDER TO CONTINUE JUDGMENT
     v.                                  )               AND SENTENCING
15                                       )
                                         )
16
     SANDRA HERMOSILLO, et al.           )
17                                       )
                             Defendants. )
18   ___________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, defendant, Jun Michael Dirain, by and through his counsel, Timothy Zindel, defendant,
24

25   Manuel Herrera, by and through his counsel, John Manning, and defendant, Moctezuma Tovar,

26   by and through his counsel, Thomas A. Johnson, agree and stipulate to vacate the date set for
27
     judgment and sentencing, February 20, 2018 at 9:00 a.m., and to continue judgment and
28


                                         Stipulation and [Proposed] Order
                                      to Continue Judgment and Sentencing
                                                         1
               Case 2:11-cr-00296-WBS Document 701 Filed 02/13/18 Page 2 of 3


1    sentencing until May 14, 2018 at 9:00 a.m., in the courtroom of the Honorable William B.
2
     Shubb.
3
              The reason for this request is that the government and the defendants need additional time
4

5
     to discuss and assess any departures under Section 5K1.1 of the U.S. Sentencing Guidelines for

6    cooperation, and engage in other investigation and collection of documents relevant to
7    sentencing. The Court is advised that all counsel listed above and U.S. Probation Officer Becky
8
     Fidelman concur with this request, and all counsel have authorized Ms. Radekin to sign this
9
     stipulation on his behalf.
10

11            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

12   IT IS SO STIPULATED.
13
     Dated: February 12, 2018                       MCGREGOR W. SCOTT
14                                                  United States Attorney

15                                          By:     /s/ Brian Fogerty
                                                    BRIAN FOGERTY
16
                                                    Assistant United States Attorney
17
     Dated: February 12, 2018                       /s/ Erin J. Radekin
18                                                  ERIN J. RADEKIN
19
                                                    Attorney for Defendant
                                                    SANDRA HERMOSILLO
20
     Dated: February 12, 2018                        /s/ Timothy Zindel
21                                                  TIMOTHY ZINDEL
22                                                  Attorney for Defendant
                                                    JUN MICHAEL DIRAIN
23
     Dated: February 12, 2018                        /s/ John Manning
24
                                                    JOHN MANNING
25                                                  Attorney for Defendant
                                                    MANUEL HERRERA
26   //
27

28


                                           Stipulation and [Proposed] Order
                                        to Continue Judgment and Sentencing
                                                           2
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 1   Dated: February 12, 2018                    /s/ Thomas A. Johnson
                                                 THOMAS A. JOHNSON
 2
                                                 Attorney for Defendant
 3                                               MOCTEZUMA TOVAR

 4

 5
                                                 ORDER
 6
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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 8   date set for judgment and sentencing, February 20, 2018 at 9:00 a.m. is VACATED and the

 9   above-captioned matter is set for judgment and sentencing on May 14, 2018 at 9:00 a.m. in the
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     courtroom of the Honorable William B. Shubb.
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     IT IS SO ORDERED.
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     Dated: February 12, 2018
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                                         Stipulation and [Proposed] Order
                                      to Continue Judgment and Sentencing
                                                         3
